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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA,                     )
                                              )      Criminal No. 18-86
                       v.                     )
                                              )      Judge Cathy Bissoon
ANGEL RODRIGUEZ,                              )
                                              )
                       Defendant.             )


                                             ORDER

       Defendant’s Motion (Doc. 148) under 18 U.S.C. § 3582(c)(1)(A) will be denied.

The thrust of Defendant’s Motion is that he should be eligible to earn time credits under the First

Step Act (“FSA”). Doc. 148 at 2-4. He has utilized the wrong procedural vehicle. “A challenge

to assessment of [FSA] credits should be brought under § 2241, not in a motion for

compassionate release.” U.S. v. Pierce, 2025 WL 1171587, *3 & n.24 (E.D. Pa. Apr. 22, 2025)

(parenthetical notations regarding cited and quoted sources omitted herein). A 2241 petition

properly is filed in a Defendant/petitioner’s district of confinement. Anariba v. Dir. Hudson Cty.

Corr. Ctr., 17 F.4th 434, 444 (3d Cir. 2021). Mr. Rodriguez is confined at USP Hazelton.

see Doc. 148-1 (envelope of submission, as confirmed on the BOP inmate locator website).

That is in the Northern District of West Virginia.

       Although this is enough to deny Defendant’s Motion, it may save him some time and

effort to know that courts in this Circuit have rejected 2241 petitions based on his reasoning.

Compare Doc. 148 at 2-3 (arguing that the BOP cannot properly aggregate his sentences,

and that his 924(c) conviction does not disqualify him for FSA credits) with, e.g., Teed v.

Warden Allenwood FCI Low, 2023 WL 4556726, *1-2 (3d Cir. Jul. 17, 2023) (non-binding but

highly persuasive authority, rejecting the BOP aggregation argument) and, e.g., Colotti v. Peters,
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2025 WL 216401, *1 (W.D. Pa. Jan. 16, 2025) (petitioner was “statutorily barred from earned

time credits due to his conviction under § 924(c)”).

       Otherwise, Defendant has failed to identify “extraordinary and compelling” reasons for a

sentencing reduction. See Section 3582(c)(1)(A)(i). By his own admission, Mr. Rodriguez’s

current housing designation allows him a level of freedom that would be the envy of many a

federal prisoner. Doc. 148 at 5 (he can go into the community to attend college courses, enroll in

a CDL class and attend medical appointments outside the facility). While Defendant has earned

these privileges, they are remarkable given the nature of his convictions. See Judgmt. (Doc. 130)

(Defendant was convicted of possessing with the intent to distribute fentanyl and heroin and

possessing a firearm in furtherance of a drug trafficking crime).

       Defendant’s Motion (Doc. 148) under 18 U.S.C. § 3582(c)(1)(A) is DENIED, and his

Motion (Doc. 147) to appoint counsel is DENIED AS MOOT.

       IT IS SO ORDERED.



May 2, 2025                                            s\Cathy Bissoon
                                                       Cathy Bissoon
                                                       United States District Judge
cc (via First-Class U.S. Mail):

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